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CaSe 06-23673 Filed 11/09/06 DOC 42

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
CaSe NO. O6-23673-C-7

In re:

DC Nos. WGM-l
WGM-Z

CESAR FRANCISCO LAXA,

Debtor(S).

v`_/v`/`./Vv

 

 

MEMORANDUM DECISION ON MOTION FOR RELIEF FROM THE AUTOMATIC STAY

This memorandum decision is not intended for publication and
supplements findings of fact and conclusions of law stated orally
on the record pursuant to Federal Rule of Civil Procedure 52, as
incorporated by Federal Rule of Bankruptcy Procedure 7052.

Deutsche Bank National Trust Company filed two motions for
relief from automatic stay, WGM-l and WGM-Z, on October l3, 2006,
in this bankruptcy case, which was filed September 18, 2006, and
set the matters for hearing on October 31, 2006. The first
meeting of creditors was scheduled for October 27, 2006. The
debtor filed a statement of intention to surrender the property.

The debtor's opinion regarding the value of the real
property in question was that it was worth $390,000, as stated on
the schedules. The movant contends the value of the property is
$395,000. The movant is owed $321,185.28 on a first deed of,

trust and is owed $82,573.91 on a second deed of trust. Movant

 

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CaSe 06-23673 Filed 11/09/06 DOC 42

requests awards of attorney’s fees and costs of $675 with respect
to each of the motions, WGM-l and WGM-Z.

There was no necessity for two motions because when this
court vacates the automatic stay with respect to a creditor, it
routinely vacates the stay with respect to all junior creditors.
Thus, in the order granting relief from the automatic stay in
Motion No. WGM~l, the court is revising the language to provide
that with respect to the subject property the automatic stay is
terminated and that any party in interest may proceed with and
consummate its foreclosure proceedings in all respects, and/or
fully enforce all of its rights under its Note and Deed of Trust
and take any acts or institute and complete any proceedings
necessary to obtain possession of the above real property under
applicable nonbankruptcy law.

As to the first deed of trust, the amount owed to Deutsche
Bank National Trust Company is not greater than the value of the
property and, under ll U.S.C. § 506(b), is eligible for an award
of reasonable fees and costs or charges provided for under an
agreement or state statute under which the claim arose.

The key question is what is reasonable. Since the same
creditor holds both the first and the second deeds of trust as to
Which the value of the property is not greater than the amount of
the secured claim, any § 506(b) award which would reduce the
amount available to the junior mortgagee is not material because
of the identity of the movant. There is also a theoretical
possibility that the property will sell for more than the total
amount of the secured debt. In such event, the award that is

requested makes a difference. It is not reasonable for the same

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CaSe 06-23673 Filed 11/09/06 DOC 42

creditor to file multiple relief from stay motions where the
debtor has stated it intends to surrender and, where it does not
appear there is equity for the trustee, it is not reasonable to
file motions for relief from stay Without first inquiring into
the possibility of a stipulation for relief from stay, which
stipulation ordinarily entails less professional expense in
preparation and is not subject to the $150 filing fee that is
charged for each motion for relief from stay.

In this instance, the court is asked to award a total of
$1,350 for the two motions. The $675 requested for the
unnecessary duplicate motion is plainly not reasonable.
Moreover, motion No. WGM-2 is, as a substantive matter, not
eligible for an award under § 506(b) because the amount owed is
greater than the value of the property.

As to motion No. WGM-l, the $150 filing fee is not
reasonable because there is no showing that a motion was
reasonably necessary. In addition, because of the lack of any
effort to obtain a stipulation from the debtor and the trustee
regarding relief from the automatic stay in order to minimize the
expense of obtaining relief from stay, the reasonable fees are
deemed to be a total of $250 pursuant to § 506(b),

An appropriate order will issue.

Dated: November 8, 2006.

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UNITED sTKr§F BANKRUPTCY JUDGE

 

 

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CaSe 06-23673 Filed 11/09/06 DOC 42

CERTIFICATE OF SERVICE

On the date indicated below, I served a true and correct

copy(ies) of the attaghed document by placing said copy(ies) in a
postage paid envelope addressed to the person(s) hereinafter

listed and by depositing said envelope in the United States mail
or by placing said copy(ies) into an interoffice delivery

receptacle located in the Clerk's Office.

Paul R. Bartleson
1007 701 Sr #319 U § . ')/mg+¢¢

Sacramento,CA 95814 gm IS_ z},LV'1513

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Benicia, CA 94510

William G. Malcolm
Malcolm Cisneros

2002 Business Center Drive, 2nd F1001'
Irvine, CA 92612

Dated: H \S,OLF

DEPUTY CLERK

 

 

